RD

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From: Ken Vaughan

Date: August 26, 2005

Subject: Briefing from Ruben Yost concerning Juneau Access Project Status and

- Schedule.

Ruben Yost hosted an informal briefing at the ADOT&PF offices this morning (August
26, 2005). ‘The foliowing reports on the briefing and key information, Two agreements
with ADF&G (Moose Assessment and Mountain Goat Monitoring) were briefly
discussed. Drawings of revised alignment at the Katzehin River Terminal, revisions near
the Antler and Lace Rivers, and a proposal to move the alignment away from the shore.
between Slade Creek and Comment were discussed. The river crossings sheets (overlay
dais/incoming/chugtong 110/juneau_ access/.

Action needed: If the Forest Services is to be a player in decisions for mitigation of
wetlands effects from Juneau Access, proposals for mitigation actions on NFS lands in
Berners Bay or Lynn Canali are needed soon. One “fall back” option would be for the
proposed purchase on a native allotment Jands in the Point Bridget State Park to be in the
name of the United States (Forest Service) and the land to be exchanged in the future
with the State of Alaska.

Key items:

e ADOT&PF and several resource agencies were planning to use compensatory
mitigation from NFS lands on non-NFS lands. About $875,000 value is at
discussion. I advised that Forest Service policy was that mitigation should be
on NFS lands for impacts on

e The selection of Alternative 2B and the terminal facility north of the Katzehin
River creates some use and service opportunities that were different with a
through road.

e The existing air strip near the mouth of the Katzehin River could be continued
or eliminated. If continued, access from the highway will likely be an issue.
(Probably can get ADOT&PF to decommission the air strip with construction of
the highway if that option is taken).

e Alignment is being refined and changed to minimize some effects. A proposal
to realign from the beach between Slade Creek and Comet will improve beach

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fringe effects and eagle tree conflicts but have greater small old growth reserve
effects.

e Major river crossings will included extra width for wildlife passage at the
banks.

¢ 100 foot bridges are proposed across a bear trail and moose trail between the
Lace and Antler Rivers.

* Location of the road has progressively moved away from the beach fringe,
which is viewed as a strong benefit by the resource agencies. That appears to

- reflect a weighting of estuarine and beach fringe habitat above those of forest

(old growth) habitats. The road is currently planned to cross Sawmill Creek
about 1500 feet from the beach.

Schedule for FEIS:

Ruben advised that the preliminary final EIS will be circulated for agency review the end
of October and comments due back the end of November. The FEIS will be issued
approximately January. The FHWA processes calls for a 30 day comment period. The
Record of Decision will be issued after the comment period closes. FHWA does not have
an appeal process.

. Mitigation Issues:

The wetlands affected by the project are now estimated at about 70 acres, mostly forested
wetlands, with some estuarine wetlands along the coast (Alaska DNR and Forest Service
lands). The Corps, EPA, and resource agency representative have been bartering the
mitigation value (800-900 thousand dollars), apparently not considering either ADNR or
FS interest. The FS policy of seeking mitigation for effects on NFS lands on NFS lands
was raised. It was not popular as it would negatively affect the proposal to purchase a
native allotment inholding in the Point Bridget State Park.

There is a pending native allotment south of the highway location, between the Antler
and Lace rivers that was of high interest to the resource agencies.

Native allotment purchases are likely tricky given the trust relationship of the BIA
concerning the allotment.

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